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                                    UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                  Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                   MOTION INFORMATION STATEMENT
Docket Number(s): 24-1436 (L) / 24-1567 (xAp)_                                                Caption [use short title]

Motion for' Motion of Appellant-Cross-Appellee

Esther Wilder to strike Improper Sur-Reply



Set forth below precise, complete statement of relief sought:
The motion requests that certain portions of

Appellee-Cross-Appellant Sarah Hoiland's                                    Wilder V. Hoiland
Reply Brief, dated January 9, 2025, be stricken.

The specific portions of the brief that Wilder asks to

be stricken are identified in yellow highlighting on

Exhibit A to the motion

MOVING PARTY: Appellant-Cross-Appellee Esther Wilder OPPOSING PARTY: Appellate-Cross-Appellant Sarah Hoiland

           J Plaintiff                    Defendant

          »/ Appellant/Petitioner    II  Appellee/Respondent

MOVING ATTORNEY: Matthew Hersh                                         OPPOSING ATTORNEY: Guy Cohen
                                      [name of attorney, with firm, address, phone number and e-mail]
Matthew Hersh, Mestaz Law,                                              Guy Cohen, Davis + Gilbert LLP

5040 N. 40th Street, Suite 200, Phoenix AZ 85018                       1675 Broadway, New York, NY 10019

(602) 806 2076                                                         (212) 468-4800

Court- Judge/ Agency appealed from: Southern District of New York, Hon. P. Kevin Castel

Please check appropriate boxes :                                          FOR EMERCENCYMOTIONS, MOTIONS FOR STAYS AND
                                                                          INJUNCTIONS PENDING APPEAL :
Has movant notified O using counsel (required by Local Rule 27.l):
                    if                                                    Has this request for relief been made below?                     es    laNo
        »/ Yes        No (explain)1                                       Has this relief been previously sought in this court?
                                                                          Requested return date and explanation of emergency:
                                                                                                                                    8" E  Y es     No


Opposing counsel's position on motion:
          E   Unopposed J OpposedljDon't Know
Does opposing counsel intend to file a response:
         »/ Yes     I] No EDon't Know


Is oral argument on motion requested?         E    Yes »/ No (requests for oral argument will not necessarily be granted)

Has argument date of appeal been set?           »/ Yes      No If yes, enter date:_FebruarY 20, 2025

Signature of Moving Attorney:

/s/ Matthew Hersh                         Date: 1/21/25                Service by:   J CM/ECF           Other [Attach proof of service]




Form T-1080 (rev.12-13)
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 24-1436 (L)            24-1567 (XAP)

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            fur the éenunh Qllirnuit

                   ESTHER WILDER,
        PLAINTIFF-APPELLANT-CROSS-APPELLEE

                                   u.

                 SARAH HOILAND,
       DEFENDANT-APPELLEE-CROSS-APPELLANT

  ONAPPEAL FROM THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK (CN NO. 22-721)

   MOTION OF APPELLANT-CROSS-APPELLEE ESTHER
      WILDER TO STRIKE IMPROPER SUR-REPLY

                                MATTHEW HERSH
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                                   Suite 200
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     Appellant-Cross-Appellee Esther Wilder respectfully moves to
strike designated portions of the Reply Brief for Appe11ee-Cross-
Appellant Sarah Hoiland. A cross-appellee's reply brief "must be limited

to the issues presented by the cross-appeal." Fed. R. App. P. 28.l(c)(4).

But Holland used her final cross-appeal brief to respond to the arguments

in Wilder's Reply Brief in Wilder's appeal. Holland's Reply Brief is
therefore an improper sur-reply in violation of the rules. The improper
portions of her Reply Brief-highlighted in yellow in Exhibit A to this
brief-should be stricken.l
     No possible reason justifies this suit-reply. Hoiland is cross-
appealing the district coulrt's denial of her motion for attorney fees-an

issue that requires her to brief, among other things, whether Wilder's
position below was "objectively unreasonable." Hoiland seems to think

that briefing the objective reasonableness of Wilder's position in her
cross-appeal entitles her to re-brief the merits of Wilder's position too.
She is wrong. Lack of merit and "objective unreasonableness" are not the


1 On January 9, 2025, the undersigned advised Hoiland's counsel that he
would be filing this motion and provided counsel with a version of
Hoiland's Reply Brief containing highlights that are substantially similar
to those in Exhibit A. On January 10, Hoiland's counsel stated that
Hoiland would oppose the motion.
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same thing. Establishing one does not establish the other. Moreover,
Holland does not win this appeal even if she shows that Wilder's
argument was objectively unreasonable. At this level of review, she must

show that the district court abused its discretion by finding Wilder's
position reasonable. An argument on the merits is eons away from this

showing. It does not belong in Hoiland's cross-appeal reply.

     Hoiland's sur-reply is inappropriate for many other reasons. For
one, Holland defended below on the grounds of fair use and implied
license. The court decided fair use in Hoiland's favor and did not reach

the issue of implied license. But Hoiland now uses her Reply Brief on
attorney fees to shoehorn in an argument on implied license too. This
makes no sense. The court could not conceivably have abused its
discretion by refusing to grant attorney fees over an issue it did not decide

on the merits. Moreover, Hoiland's position is a naked invitation for
gamesmanship. If cross-appellants in Hoiland's situation can buy
themselves "a last swipe on the appeal" by filing a cross appeal on
attorney fees, l 6AA Fed. Prac. & Proc. Juris. § 3974.10, then they will do

so even if they know the cross-appeal has no merit. That burdens the
parties and the court. The motion should be granted.

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                              BACKGROUND
     l. This case arises out of a dispute over Hoiland's use, at an
academic conference, of materials that Wilder created. Wilder sued
Holland for copyright infringement in the court below. Holland advanced

two affirmative defenses: fair use and implied license. After discovery,

Wilder moved for summary judgment on the question of her ownership
of the work and the parties cross-moved on the two affirmative defenses.

The district court denied Wilder's motion for summary judgment on the

question of ownership and fair use, granted Hoiland's motion for
summary judgment on the question of fair use, and entered judgment in

favor of Holland. SPA-l; SPA-46. The court did not address Hoiland's
defense of implied license.

     Holland then moved for an order awarding her attorney fees. In her

motion, she argued that Wilder's position on fair use had been objectively

unreasonable, that Wilder's infringement claim was brought in bad faith,

and that an award of attorney fees would advance the goals of
compensation and deterrence. Memorandum in Support of Defendant's

Motion for Attorney Fees and Costs, pp. 5-15, ECF 92; see also Ki rtsaeng

U. John Wiley & Sons, Inc., 579 U.S. 197, 202 (2016) (setting forth

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factors). Hoiland did not argue that Wilder's position on implied license

was unreasonable (because the district court, of course, had not yet
decided that issue on the merits). The district court denied the motion,

finding that the fair use factors-including the crucial "objectively
reasonable" factor-did not support an award of fees. SPA-54-56.

     2. The parties cross-appealed to this Court, with Wilder appealing

the fair use and ownership rulings on the merits, and Holland cross-
appealing the order denying attorney fees. Hoiland did not cross-appeal

on the issue of implied license. Pursuant to the briefing schedule provided

for cross-appeals in Fed. R. App. P. 28.1, the parties submitted briefs as

follows:

     Appellant's Principal Brief: Wilder filed her Principal Brief in

support of her appeal on August 5, 2024. The brief asked this Court to

reverse the grant of summary judgment to Holland on the issue of fair
use, reverse the denial of summary judgment to Wilder on the issue of

fair use, and reverse the denial of summary judgment to Wilder on the

issue of ownership.

     Appellee 's Principal and Response Brief. Holland filed her Principal

and Response brief on November 4, 2024. The Response portion of

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Hoiland's brief addressed the arguments in Wilder's Principal brief on
the merits. The Response portion of Hoiland's brief also (permissibly)
sought affirmance on the alternative ground that Holland had an implied

license-an issue not decided below and therefore not raised in Wilder's

Principal Brief.
     The Principal portion of Hoiland's brief, by contrast, was limited to

her cross-appeal of the court's denial of her motion for attorney fees. In
that portion of her brief, which spanned roughly II pages, Hoiland did
not re-argue the merits of the case. Instead, as she did below, Holland
argued that Wilder's infringement claim was objectively unreasonable,
that Wilder's infringement claim was brought in bad faith, and that an
award of attorney fees to Holland would advance the goals of
compensation and deterrence. In arguing that Wilder's position was
objectively unreasonable, Holland focused exclusively on the issue of fair

use-without any mention of Wilder's position on implied license.
Notably, Hoiland's argument that Wilder's claim was objectively
unreasonable spanned only about 2.5 pages of her 71-page brief.

     Appellant's Response and Reply Brief. Wilder filed her Response

and Reply Brief on December 19, 2024. In the Reply portion of her brief,

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Wilder again briefed the issues of fair use and ownership. She also
briefed, in response to Hoiland's alternative ground for affirmance, the

issue of implied license. In the Response portion of her brief, Wilder
briefed the issue of attorney fees.

      Appellate 's Reply Brief. Holland filed her cross-appeal Reply Brief on

January 9, 2025. Under the guise of briefing the "objective
reasonableness" prong of the attorney fee standard, Holland now also re-

briefed the merits of the fair use and implied license issues that-to that
point-had been briefed only as part of the merits appeal. Thus, the
"objective reasonableness" argument in her cross-appeal ballooned by
nearly four times between her Principal and Reply briefs. A comparison
of Hoiland's Principal Brief and her Reply Brief on cross-appeal is
instructive :

                    Hoiland's Principal and        Hoiland's Reply
                        Response Brief                  Brief
                       on Cross-Appeal:           on Cross-Appeal:
                  "Objective Reasonableness" "Objective Reasonableness"
                              Factor                            Factor
Pages                           2.5                                9
Words                           558                              2,204




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     A page-by-page examination of Hoiland's cross-appeal Reply Brief

also highlights how she has entitled herself to a sur-reply on the merits:

     Page 8 (paragraph labeled "A"): In the highlighted text, Holland

expressly replies to Wilder's Reply Brief on the merits, claiming that
Wilder's "briefs" (plural) are "studies in erudite gaslighting," rejecting

Wilder's analysis of Andy Warhol Found. for the Visual Arts, Inc. U.

Goldsmith, 598 U.S. 508 (2023) (a case analyzed in Wilder's Principal and
Reply Briefs on the merits but not mentioned at all in Hoiland's Principal

Brief on attorney fees), and criticizing "the many pages Wilder spen[t] in

reply plucking sentences from factually distinguishable cases" (emphasis
added). None of the arguments in this brief were contained in Hoiland's

briefing on attorney fees before the district court. Memorandum in
Support of Defendant's Motion for Attorney Fees and Costs, pp. 5-9, ECF

92; Reply Memorandum in Support of Defendant's Motion for Attorney

Fees and Costs, pp. 1-5, ECF 103. Nor were they contained in Hoiland's

Principal Brief on her cross-appeal to this Court. They were merely
responses to the arguments in Wilder's Reply Brief on the merits.
                                                                               JJ
     Pages 8-10, 12 (highlighted sections starting with 'B " "C, " "D, " "E,

'F " "G, "and "H"): The roughly five pages of highlighted text here address

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the merits of Wilder's appeal on the issue of implied license. As noted
above, the district court did not rule on the issue of implied license below.

Supra at 3. As a result, the implied license issue played no role in

Hoiland's motion for attorney fees below, supra at 4, Holland did not
cross-appeal on the issue of implied license, supra at 4, and the implied

license issue played no role in Hoiland's Principal Brief in her cross-
appeal on attorney fees. Supra at 5. Nonetheless, Holland used her Reply
Brief on the attorney fees issue to extensively brief the implied license

issue in response to Wilder's Reply Brief arguments. Again, none of these

arguments were contained in Hoiland's brief on attorney fees before the
trial court nor in her Principal Brief on her cross-appeal in this court.

                                ARGUMENT
     The highlighted passages of Hoiland's Reply Brief should be
stricken. Under the Federal Rules of Appellate Procedure, a cross-
appellee's reply brief "must be limited to the issues presented by the
cross-appeal." Fed. R. App. P. 28.l(c)(4). Hoiland's Reply Brief is not
remotely limited to her cross-appeal. To the contrary, her brief
"effectively constitutes two briefs: (l) Cross-Appellant [Hoiland's] Reply

Brief, and (2) Appellate [Hoiland's] Sur-Reply Brief." Echo Acceptance

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Corp. U. Household Retail Services, Inc., 267 F.3d 1068, 1091-92 (10th

Cir. 2001). "Only the first of the two is authorized by the Federal Rules

of Appellate Procedure." Id. Courts routinely strike cross-appeal reply

briefs that do not comply with this rule. Et., USX Corp. U. Liberty Mat.

Ins. Co., 444 F.3d 192, 202 (3d Cir. 2006); see also Princess Cruises, Inc.

U. United States, 397 F.3d 1358, 1361 (Fed. Cir. 2005) ("We note a

troubling trend for the counsel of cross-appellants to disregard the rule

limiting their reply brief to issues concerning the cross-appeal. The filing

of improper sur-reply arguments is unfair to appellants who bear the
burden of demonstrating prejudicial error in the decision being appealed

and, therefore, are entitled to the last word in both the briefs and at oral

argument on their appeal.") (cleaned up); l 6AA Fed. Prac. & Proc. Juris.

§ 3974.10 (5th ed.) ("the appellate cannot use its reply brief in the cross-

appeal to get in a last swipe on the appeal").2




2 See also Bier ran Family Farm LLC/King Mulch /King Farms U. United
Farm Family Ins. Co., 812 Fed. Appx. 139, 145 (4th Cir. 2020) (striking
portions of cross-appeal reply brief that did not comply with Rule
28.l(c)(4); Casas U. Am. Airlines, Inc., 304 F.3d 517, 526 (5th Cir. 2002)
(same); Newhouse U. McCormick & Co., Inc., 110 F.3d 635, 644 (8th Cir.
1997) (same).
                                        9
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     Hoiland will presumably argue that her reply was permissible
because the question of whether Wilder's claim was right overlaps with

the question of whether Wilder's claim was reasonable. That argument is

without merit. There are many reasons why.

     l. Begin with the obvious: Lack of merit and "objective
unreasonableness" are not the same thing. "Not all unsuccessful litigated

claims are objectively unreasonable. The infirmity of the claim, while
falling short of branding it as frivolous or harassing, must nonetheless be

pronounced." CK Co. U. Burger King Corp., 92 CIV 1488 (CSH), 1995 WL
29488, at *l (S.D.N.Y. Jan. 26, 1995); see also Bancroft Media, Ltd. U.

Coed Media Group, LLC, 16 CIV 7634 (JMF), 2018 WL 357298, at *2

(S.D.N.Y. Jan. 10, 2018) (even where case was "not ultimately a close
one," attorney fees not appropriate where losing party's arguments were

not "so frivolous or objectively unreasonable that no party could see an
opening ... through which the alrgument[s] could be squeezed"); Inst. for

the Dev. of Earth Awareness U. People for the Ethical Treatment of
Animals, 08 CIV 6195 (PKC), 2011 WL 2565373, at *l (S.D.N.Y. June 14,

2011) ("The conclusion that no reasonable jury could find copyright
infringement on the part of [the prevailing party] is not tantamount to a

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finding that the positions asserted by [the losing party] were objectively

unreasonable."). Holland won on the merits of her fair use claim below.

Her attorney fees motion turned on whether Wilder's position, even if
wrong, was also unreasonable. Holland could not have advanced her

argument on attorney fees below simply by re-arguing the merits. She

cannot win this appeal by ire-arguing the merits either.
      2. This is especially true where, as here, the standard of review on
appeal is even further removed from the merits of the fair use defense

below. Holland not only has to show that Wilder's claim was objectively

reasonable; she now has to show that the court below abused its
discretion by deciding against heir-one of the most "deferential

standards of review" there is. In re Bolan Pharm. Co. Sec. Litig., 966 F.2d

731, 732 (2d Ci1r.l992) (per curium). Holland cannot possibly believe that

continuing to hammer away at the merits will advance her appeal under
this standard. In Hoiland's apparent view of this appeal, she can show

that the district court abused its discretion, in finding that Wilder's claim

was objectively reasonable, merely because Wilder's arguments were

wrong. That is of course not remotely true. It cannot be window dressing

for this sur-reply.

                                       II
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      3. Hoiland's position not only makes a mockery of Rule 28.1. It also

jettisons this Couirt's longstanding precedent when it comes to adding

new arguments out of time. Not one of the highlighted arguments in
Hoiland's Reply Brief on attorney fees was made in Hoiland's Principal

Brief on attorney fees. And not one of them was included in Hoiland's

briefing on attorney fees before the district court. In any other scenario,

that would disqualify Hoiland's briefing on these subjects entirely. E,g.,

Knipe U. Skinner, 999 F.2d 708, 711 (2d Cir. 1993) ("Arguments may not

be made for the first time in a reply blrief."); Vintero Corp. U. Co rp o racio n

Venezolana de Fomento, 675 F.2d 513, 515 (2d Cir. 1982) ("A party who

has not raised an issue below is precluded from raising it for the first
time on appeal") (cleaned up). These foundational rules are not suddenly

mooted by an attorney fees cross-appeal.

      4. A11 of these arguments apply with even greater force when it
comes to Hoiland's argument on the implied license issue. As noted
earlier, the district court did not even rule on Hoiland's affirmative
defense of implied license. As a result, Hoiland could raise the issue only

as she did-as an alternative ground for affirmance on the merits. She



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could not (and did not) cross-appeal on the implied license issue.3 And

since she did not cross-appeal on the implied license issue, she certainly

cannot argue the implied license issue in her cross-appeal brief. But that

is what she has done. By the same token, regardless of what this Court

eventually decides when it comes to implied license, that still could have

no bearing on the issue of attorney fees. The trial court did not rule on

Wilder's position on implied license. It could not possibly have abused its

discretion in not finding that Wilder's position on implied license was

unreasonable. The argument has no business being part of this cross-

appeal
     5. Finally, Hoiland's position is a naked invitation for

gamesmanship. The courts of appeal have warned against the situation

where "an appellate files an unnecessary cross-appeal when it seeks only

an affirmance of the district court order and thereby sets up a situation

in which it inappropriately can file an additional brief." USX Corp. U.

Liberty Mat. Ins. Co., 444 F.3d 192, 202 (3d Cir. 2006) (cleaned up). If

cross-appellants in Hoiland's situation can buy themselves "a last swipe


3 See, e.g., Kontakis U. Beyer, 19 F.3d 110, 112 (3d Cir. 1994) (dismissing
cross-appeal because appellate "could have advanced the issues specified
in his cross-appeal as alternative grounds to affirm").
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on the appeal" by filing a cross appeal on attorney fees, l 6AA Fed. Prac.

& Proc. Juris. § 3974. 10, then they will do so even if they know the appeal

has no merit. That burdens the parties and the Court-and makes a
mockery of the cross-appeal sequencing carefully drawn by the Federal

Rules of Appellate Procedure. It cannot be what the drafters of those
rules had in mind.

                               CONCLUSION
     The Court should strike those portions of Hoiland's cross-appeal

reply brief that are highlighted in yellow in the attached Exhibit A.

     Respectfully submitted,

                                     /s/ Matthew Hersh
                                     Matthew Hersh
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                                     Counsel for Appellant-Cross-Appellee
                                     Esther Wilder

Dated: January 21, 2025




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                      CERTIFICATE OF SERVICE
     I, Matthew Hersh, hereby certify that on January 21, 2025, I filed

the foregoing Motion ofAppellant-Cross-Appellee Esther Wilder to Strike

Improper Sur-reply through this Court's CM/ECF system, that counsel

for all parties are registered CM/ECF users, and that service of all parties

will be accomplished through the CM/ECF system.

                                     /s/ Matthew Hersh
                                     Counsel for Appellant-Cross-Appellee
                                     Esther Wilder
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                      ESTHER WILDER,

                                     Plaint   Appellant-Cross-Appellee,

                             -v.

                      SARAH HOILAND,

                                   Defendant-Appellee-Cross-Appellant.

 ON APPEAL FROM THE UNITED STATES DISTRICT COURT
      FOR THE SOUTHERN DISTRICT OF NEW YORK

REPLY BRIEF FOR DEFENDANT-APPELLEE-
          CRCSS-APPELLANT


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                        PRELIMINARY STATEMENT

      Sarah Hoiland, an Associate Professor of Sociology at Hostos Community

College - a mostly Hispanic two-year community college in the Bronx - has

dedicated her career to teaching and improving the lives and social mobility of

community-college students, who typically face difficult financial circumstances

and attend school while also working full time jobs and/or raising children. She is

and has for years been actively involved in research projects designed to improve

the lives of the community she serves. In addition to having previously served as a

Director of the admirable NICE project,' Hoiland is now the Principal Investigator

on the HOPE project, a five-year, NSF-funded research project that, among other

things, provides support during the summer for student-parents who are taking

STEM classes, concurrently provides a STEM academy for their children, and

studies the effectiveness of these academic, family, and professional interventions.

Holland also teaches a full course load at Hostos, while at the same time serving as

a part-time faculty member on Bard College's Prison Initiative, which requires her

to drive upstate regularly to teach sociology to incarcerated individuals at New York

State correctional facilities. She's also a single mother living in New York City on

a community-college professor's salary.



1 Capitalized terms that are not otherwise defined herein shall have the meanings
given to them in Hoiland's initial brief.

                                          1
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                 w@f@E;2144B96,aJwa)921I1)2i6,nn4¢t3nn9y;mrn,r1D%@aez3asf23i8




          Almost six years ago and as required by the NSF grant that funded NICE,

Holland gave a presentation about the faculty-development course during a breakout

session at a community-college conference. Fewer than 20 people attended the

session, during which Hoiland showed excerpts of the Course Materials as fleeting

visual aids. She was pleased to provide community-college educators with an

overview of a course designed to help disadvantaged students improve their math

skills.

          At that time, Holland could not have imagined that, by showing a few slides

while giving advice in the public interest to her community-college peers in Florida,

she would thereafter be subjected to six years of threats, baseless allegations,

unabashed efforts to derail her career, and contentious federal-couit litigation

extending all the way up to the Second Circuit.

          But here we are. And despite Esther Wilder's contentions to the contrary, the

totality of the circumstances mandates an award of attorney's fees to Holland under

Section 505 of the Copyright Act. The parties' appellate briefs underscore the

obj ective unreasonableness of Wilder's copyright infringement claim, the bad faith

with which she has pursued this claim, and the extent to which a fees award is

necessary to compensate Hoiland and her attorneys and deter Wilder and similarly

situated plaintiffs from pursuing unreasonable claims.




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      Accordingly, and for reasons discussed below, the Court should reverse the

District Court's denial of attorney's fees and remand with instructions to award fees

and costs to Hoiland and make specific findings as to the basis for its decision.

                                   ARGUMENT

    HOILAND IS ENTITLED TO AN AWARD OF ATTORNEY'S FEES

       A.    Wilder's Claim Was Objectively Unreasonable

      Wilder's lengthy briefs are studies in erudite gaslighting that do not alter the
                                                                                         A
objective unreasonableness of her claim. Wilder shows off her fair-use chops by

waxing eloquent about Andy Warhol Found. for the Visual Arts, Inc. V. Goldsmith,

598 U.S. 508 (2023), and other landmark cases, and she then complains that many

of these cases are not "even mentioned" in Hoiland's brief. (Wilder Resp. Br. 3.)

But Holland disregarded certain of Wilder's arguments and case cites precisely

because they were designed to distract from the salient facts establishing Hoiland's

fair use of the Unit 7H Text. Similarly unavailing are the many pages Wilder spends

in reply plucking sentences from factually distinguishable cases in an (unsuccessful)

effort to manufacture a more restrictive implied-license standard. (Wilder Resp.

Br. 13-22.) Wilder's efforts do nothing to convert an unreasonable claim into a

reasonable one.

      The objective unreasonableness - indeed, the absurdity - of Wilder's claim is
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perhaps best shown by pausing and considering once again what happened here (or,



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better yet, sharing the story with friends or family members and watching how they

react). The following facts are not in dispute:

   .   Wilder recruited Holland as the co-Director of the NSF-funded NICE project,

and the sole Director of NICE at Hostos.

   .   NICE was an online faculty-development course, and Wilder provided the

Course Materials, including the Unit 7H Text.

   .   Wilder wrote the NSF Proposal, which required Hoiland to speak about the

course at community-college conferences.

   .   Wilder imbued Hoiland with authority to independently run the NICE

program at Hostos, and she placed no restrictions on Holland's use of the Course

Materials.

   .   After Wilder declined her offer to co-present, Holland lectured about NICE to

12-20 educators during a breakout session at a community-college conference.

   .   Hoiland used Powerpoint slides, including several containing the Unit 7H

Text, as fleeting visual aids during her oral presentation.

   .   Hoiland never claimed to be the author of the Unit 7H Text, she identified

herself as one of two Directors, and she described at length Wilder's instrumental

role in creating and developing NICHE/NICE.

       One need not have mastered the intricacies of copyright law to know that        C
Holland's conduct was perfectly appropriate. Common sense dictates that the


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director of a faculty-development course may show excerpts of the course materials

in a course-related presentation, especially where the (alleged) owner specifically

supplied the materials for use in the course and knew that the director would be

speaking about the course at conferences.

      Common sense is buttressed by copyright law, and for purposes of Holland's

appeal of the decision denying attorney's fees, as amplified by the parties' appellate

briefs, the following questions arise:

      Question 1: Was it obj ectively unreasonable to contend that Holland did not

have Wilder's permission to use the Unit 7H Text in the CCCLA Presentation?

      Answer: Yes, it was obj ectively unreasonable. Having imbued Holland with

authority to independently run the NICE program at Hostos, and having placed no

restrictions on Hoiland's use of the Materials, Wilder effectively granted Hoiland

permission and authority to decide for herself how to use the Unit 7H Text in

conference presentations. Because Wilder by her objective conduct gave implied

consent for such use, it was objectively unreasonable to later contend that such

permission had not been granted.

      Question 2: Was it obj ectively unreasonable to contend that Holland's use of

the Unit 7H Text in the CCCLA Presentation was not a fair use?

      Answer: Yes, it was objectively unreasonable. Every day, speakers give

lectures in which they teach about, and comment on, projects, writings, and other


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copyrighted works, and they routinely project excerpts of the works to keep

conference attendees engaged. These are classic, paradigmatic fair uses, and

Holland's use was especially fair because she was speaking about her own (shared)

project while carrying out a stated purpose of the project of which Wilder was well

aware. Moreover, the use was for non-profit educational purposes that benefited the

public interest, a primary goal was to teach attendees about NICE so they could

potentially improve the math skills of their disadvantaged students. It was

obj ectively unreasonable - and required willful blindness - to contend that Hoiland' s

use was not a fair one.

      The positions Wilder has taken throughout this litigation are extraordinary         D
and objectively unreasonable - because she completely ignores that Holland, a

Director of the NICE project, independently ran NICE at Hostos, had authority and

discretion to use the Course Materials, and exercised that discretion by using the

Unit 7H Text in a grant-mandated conference presentation. Wilder also ignores the

case law placing the burden on her to establish that Hoiland's use of the Unit 7H

Text fell outside the scope of the license. See, et., Graham V. James, 144 F.3d 229,

236 (2d Cir. 1998) ("[W]hen the contested issue is the scope of a license, rather than

the existence of one, the copyright owner bears the burden of proving that the

defendant's copying was unauthorized under the license."), Sohm V. Scholastic Inc. ,

959 F.3d 39, 48 (2d Cir. 2020) (same). Based on these facts and legal principles,


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Wilder was required to prove that she restricted a Director of NICE's authority to

use the Unit 7H Text in NICE-related presentations SO that such use somehow fell

outside the scope of the Director's otherwise unrestricted license to use the Course

Materials.

      Wilder never even attempts to do so because she never restricted the scope of

Holland's license in any way. Instead, Wilder acts as if Holland is some random

stranger who happened upon the Course Materials and hijacked them for unlawful

purposes. Straining to manufacture a restriction, Wilder makes the objectively

unreasonable argument that Hoiland's use of the Materials was limited because

public-facing copyright notices (though not the Course Materials themselves) stated

that unauthorized use of NICHE/NICE materials was prohibited and that questions

regarding authorization to use such materials should be directed to Wilder. But the

Director of NICE at Hostos is not a member of the general public, and boilerplate

copyright notices do not apply to Holland at all, much less restrict the scope of her

license. It was objectively unreasonable to contend otherwise.

      Wilder also argues, equally unreasonably, that Holland's use of the Course

Materials was restricted because it required a password to access them, and a few

prior presentations did not include "the full text of any course materials." (Wilder

Resp. Br. 7.) These arguments hardly merit response. Most every online platform

requires a password, and the NICE project's use of passwords does not limit in any


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way the scope of Hoiland's license to use the Course Materials. Similarly, the fact

that two or three prior Powerpoint presentations apparently did not include the "frill

text" of any Course Materials says nothing about Hoiland's authority to use the

Materials in a later presentation. The burden was on Wilder to prove that she

restricted Hoiland's license SO that use of the Unit 7H Text in NICE-related

presentations fell outside of its scope, and she utterly failed to do s0.2

      But it is not just that Wilder failed to meet her burden, it's that Wilder's

positions taken throughout this litigation are objectively unreasonable nonsense. Of

course, boilerplate copyright notices, password-protected materials, and unrelated

Powerpoint presentations do not restrict the scope of Hoiland's license. As the

Director of NICE at Hostos, Hoiland plainly had authority and discretion to use the

Unit 7H Text in the CCCLA Presentation, and Wilder's after-the-fact contrivances

underscore the objective unreasonableness of her claim.

      Wilder's arguments concerning fair use are equally unreasonable. Wilder

acknowledges that even if a claim does not rise to the level of frivolousness (which

Wilder's claim does), it may nevertheless be obj ectively unreasonable if the claim is


2 Wilder also tries to counter Hoiland's implied-license defense by pointing out that
the CUNY ethics officer who investigated Wilder's plagiarism allegations noted that
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there was "no previous agreement" on what materials Hoiland could or could not
use. (Wilder Resp. Br. 2.) But this argument, too, is objectively unreasonable.
Plainly, the ethics officer was addressing whether Wilder and Hoiland had expressly
agreed on how the Course Materials could be used, he did not address whether
Wilder's objective conduct created an implied license authorizing Hoiland's use.

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"speculative and remote" or if the "infirmity of the claim" is "pronounced." (Wilder

Resp. Br. 54 (emphasis removed).) Wilder also argues generally that there is a

"tendency against fees" where summary judgment arises out of the "complex, fact-

driven inquiry" of the fair-use defense. (Wilder Resp. Br. 56.)

      But Wilder's claim is, in fact, speculative and remote, its infirmities are indeed

pronounced, and the District Court's detailed, fact-driven analysis of the fair-use

factors serves to emphasize the unreasonableness of Wilder's claim. From the

Decision's introduction - which notes that the case is about fleeting visual aids used

in a small breakout session - through 45 pages of analysis, the District Court vividly

explains the circumstances that showed how obvious it was that Holland's use was

a fair one and why the case should never have been brought, much less litigated

through summary judgment. See Mahan V. Roc Nation, LLC, 14 Civ. 5075 (LGS),

2015 U.S. Dist. LEXIS 93349, at *6 (S.D.N.Y. July 17, 2015) (noting "at length"

discussion in couIt's opinion supported finding of obj ective unreasonableness).

      Wilder has contended throughout this litigation that the scales should tip in

favor of "overall reasonableness" because one of the four fair-use factors came out

in her favor. (See Wilder Resp. Br. 56-57.) Wilder is wrong, and, indeed, a factor-

by-factor analysis once again serves only to highlight the objective unreasonableness

of Wilder's claim. As for the first fair-use factor, it was crystal clear that one of      F
Hoiland's purposes was to comply in good faith with her dissemination obligations


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under the NSF grant, a factor that tilts the scales heavily in her favor     In addition,

it was obvious that Holland's further purpose - a transformative one - was not to

present Wilder's work as her own, but was instead to teach educators about the

course on which Hoiland and Wilder were co-equal Principal Investigators. And it

was equally obvious that Holland's use was educational and served an important

public interest. Indeed, and as noted, Hoiland was carrying out her dissemination

obligations under the terms of an NSF grant that was designed to serve the public

interest. It was objectively unreasonable to contend otherwise.

      As for the fourth fair-use factor, it was obvious (to the point of absurdity) that

Hoiland's fleeting use of the Unit 7H Text as a visual aid at a sparsely attended

breakout session had no impact at all on Wilder's ability to commercialize or

otherwise use the Materials. Hoiland did not usurp Wilder's materials, or usurp

Wilder's opportunities, or otherwise take any action that impacted Wilder at all

(other than to praise her profusely). The real issue was never the Unit 7H Text but

was instead Wilder's unfounded fear that Holland was going to usurp Wilder's status

as the leader ofNICE and its associated research. Wilder had buyer's remorse. She

asked Hoiland to serve as a Principal Investigator on the NICE project, and she


3 Wilder incorrectly and unreasonably contends that the Court should not consider
Hoiland's efforts to comply with her obligation to disseminate information about the
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NICE project outside of its analysis of the implied-license defense. But fair use is a
flexible doctrine and Hoiland's "purpose" - her undisputed desire to do what the
NSF grant required - is a critical point to be considered under the first fair-use factor.

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obviously regretted the choice. But Wilder's baseless concern, that Holland

intended to move into her academic territory, has no bearing on whether Holland's

use harmed the market for the Unit 7H Text. Plainly it did not and Wilder's

contentions to the contrary are obj ectively unreasonable.

      And contrary to Wilder's contention, the fact that one of the four fair-use

factors "tend[ed] slightly in favor of Wilder" does not weigh "in favor of overall

reasonableness." (SPA-40, Wilder Resp. Br. 56.) See John Wiley & Sons, Inc. v.

800k Dog Books, LLC, 327 F. Supp. 3d 606, 643-44 (S.D.N.Y. 2018) (rejecting

argument that parties' "litigating positions were reasonable [because] the Magistrate

Judge accepted [one of] their argu1nent[s]," and noting, "The fact that Defendants

raised a few reasonable arguments in an ocean of unreasonable ones does not excuse

their conduct.").

      Finally, Wilder asserts that the "novelty of this case," and the fact that it arose

in an "academic setting," weighs against a determination that the claim was

objectively unreasonable. (Wilder Resp. Br. 58.) Once again, Wilder is wrong.

There is nothing novel about this case. As discussed, Hoiland's was a paradigmatic

fair use - it was transformative because its purpose was not to teach conference

attendees what the faculty participating in the NICE program learned but to teach

them about the program itself. It was also obvious that the Slides were not the

equivalent of a research paper or other widely disseminated publication, plainly


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distinguishing this case from the facts of Weissmann V. Freeman, where the

defendant literally took the plaintiff' S publishable paper and called it his own. 868

F.2d 1313, 1316 (2d Cir. 1989). The positions Wilder has taken throughout this

litigation - both as to fair use and implied license - are obj ectively unreasonable and      H
tilt the scales heavily in favor of an attorney's fees award.

       B.    Wilder's Lawsuit Was Motivated by Bad Faith

      The undisputed paper trail vividly shows Wilder's bad-faith desire to tarnish

Hoiland's professional reputation and derail her career prospects, and Wilder fails

in her efforts to sugarcoat those intentions. Wilder says that she brought this lawsuit

"to deter others in Hoiland's shoes from" infringing copyrights, and she seeks to

hitch her wagon to the unsuccessful plaintiff in Blanch V. Koons, who was not

required to pay the attorney's fees of Jeff Koons, the renowned appropriation artist.

485 F. Supp. 2d 516, 518 (S.D.N.Y. 2007). Following a finding of fair use, Blanch

was not required to pay Koons' fees, despite having been motivated in part by a

desire to punish Koons for having "embarked on a series of appropriations of others '

work without credit or payment." Id.

      Wilder's reliance on Blanch falls flat because neither Wilder nor Hoiland are

comparable in any way to the litigants in Blanch. The plaintiff in Blanch was, in

fact, motivated by a desire to protect other artists from an artist he viewed as a serial

infringer, he sought to punish an appropriation artist - one who "take[s] other artists   J




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work and use[s] it in their own art" and who "can expect that their work may attract

lawsuits" such that "[t]hey must accept the risks of defense, including the time, effort

and expenses involved." Id. at 518 (emphasis added). Wilder, it's fair to say, did

not have the public interest in mind, quite the contrary, she was self-centeredly

focused on detailing her junior colleague's career. And Hoiland is a far cry from

Koons. In Blanch, the court found relevant that "litigation is a risk [Koons] incurs

when he copies the other's work," particularly where he had been sued multiple

times for his appropriation art. Id. (noting appropriation art "inherently raises

difficult questions about the proper scope of copyright protection and the fair-use

doctrine"). In contrast, Holland just wanted to tell a few educators about the helpful

faculty-development program she ran, and did not, it's safe to say, anticipate being

dragged into a contentious lawsuit.

      Just as Blanch does not support Wilder's contention that she acted in good

faith, her reliance on Crowley V. Jones, 608 F. Supp. 3d 78 (S.D.N.Y. 2022), is

similarly misplaced. Wilder analogizes the instant case to Crowley, in which a

photographer allowed a musician to use his work on the condition that he get proper

attribution, and he later sued in good faith for copyright infringement because the

musician allegedly used the work without giving proper attribution. One of Wilder's

main gripes was that Holland failed to give her proper "credit," and she seems to

suggest that Wilder, too, acted in good faith in bringing this lawsuit after supposedly


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not receiving proper credit. But this is a red herring because giving Wilder "credit"

was not a condition of Hoiland's use of the Course Materials - no such condition (or

covenant, for that matter) existed, and Crowley does not assist Wilder's cause.

      Neither Blanch nor Crowley nor any of Wilder's authorities support her

assertions of good faith, and her attempts to explain the underpinnings of Wilder's

motivations do not turn bad into good. Indeed, Wilder's efforts to paint over her

misconduct are perhaps best rebutted by her demonstrated knowledge of her own

bad faith. Recognizing that her misdeeds would be disclosed when Hoiland filed

her summary judgment motion, Wilder moved to seal the plagiarism allegations she

leveled against Holland with CUNY, and her specific efforts to deny Holland tenure.

This created a bizarre situation in which the subject of a disciplinary proceeding had

to fight for disclosure of documents concerning CUNY's investigative process. As

the District Court noted in denying Wilder's application:

      An unusual feature of the applications is that the party who pursued the
      internal investigative process, Wilder, seeks to seal or redact materials
      relating to that process. Hoiland, the subject of the disciplinary inquiry,
      opposes the sealing and redaction requests.

Wilder v. Holland, No. 22-cv-1254 (PKC), 2023 U.s. Dist. LEXIS 83305, at *1-2

(s.D.n.y. May 10, 2023).

      Wilder's effort to conceal from public view her own allegations of research

misconduct, her own allegations of plagiarism, and her own monstrous effort to deny




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Holland tenure and derail her career puts the lie to her attempted revisionism and

confirms her bad faith.

       c.    Issuing an Award to Dr. Hoiland Will Serve the Goals of
             Compensation and Deterrence

      Lastly, Wilder's arguments on compensation and deterrence ring hollow. The

sad fact remains that Wilder has dragged Hoiland, a single mother working on a

community-college professor's salary, through years of litigation for the sin of using

materials from a project that Hoiland and Wilder jointly ran as visual aids in a minor

conference presentation she was required to make. And the reality is that Hoiland

would have been bludgeoned into an unfair and career-damaging settlement to end

the litigation if she had continued to represent herselfpro se and Davis+Gilbert had

not stepped in mid-way through and taken on her case pro bono.

      Holland and her lawyers should be compensated and Wilder must be deterred.

And it makes no difference that Wilder and her husband are professors too (though

they obviously have funding sources that Holland lacks) because Wilder chose to

file this case, Wilder chose to litigate this case aggressively, and Wilder chose to

double down and hire new counsel to proceed after the initial Decision granting

summary judgment. In contrast, Holland has had no option but to litigate. Holland

is the prevailing party, and she and her lawyers merit compensation.




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                                 CONCLUSION

      For the foregoing reasons, Dr. Sarah Holland respectfully requests that the

Court reverse the decision of the District Court denying her motion for an award of

attorney's fees and remand to the District Court for further proceedings.


Dated: New York, New York              Respectfully submitted,
       January 9, 2025
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                       CERTIFICATE OF COMPLIANCE
        I hereby certify that this brief complies with the type-volume limitation of

Second Circuit Local Rule 28.1.1(c) and FRAP 28.1 because this brief contains

3,641 words, excluding the parts of the brief exempted by Fed. R. App. P.

32(a)(7)(B)(iii). I further hereby certify that this brief complies with the typeface

requirements of Fed. R. App. P. 32(a)(5) and the type style requirements of Fed. R.

App. P. 32(a)(6) because this brief has been prepared in proportionally spaced

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                                           /s/ Guy Cohen

                                              Guy Cohen




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